Case 8:21-cv-03044-TDC Document 82 Filed 08/09/23 Page 1of1

UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
IRENE YATES,
Plaintiff,
Vv.
Civil Action No. TDC-21-3044
NEWREZ LLC,

d/b/a Shellpoint Mortgage Servicing,

Defendant.

ORDER
For the reasons set forth in the accompanying Memorandum Opinion, it is hereby
ORDERED that:
1. Plaintiff Irene Yates’s Motion for Class Certification, ECF No. 58, is GRANTED.
2. The parties shall file a Joint Status Report within 21 days of the date of this Order

proposing the next steps in this case.

Date: August 8, 2023

THEODORE D. CHUAN
United States District Ju .
